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                                                      THE HONORABLE MARSHA J. PECHMAN
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 5
                               UNITED STATES DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
 7 MARIJA PAUNOVIC and DUSAN
   PAUNOVIC, individually and on behalf of all
 8 others similarly situated,                             NO. 2:21-cv-00884-MJP
 9                                                        [PROPOSED] ORDER GRANTING
                          Plaintiffs,                     PLAINTIFFS’ MOTION FOR
10                                                        FINAL APPROVAL OF CLASS
           v.                                             ACTION SETTLEMENT AND
11                                                        ATTORNEYS’ FEES AND COSTS
   OBI SEAFOODS LLC, an Alaska corporation,
12
   and OCEAN BEAUTY SEAFOODS LLC, an
13 Alaska corporation,

14                        Defendants.

15

16         THIS MATTER came before the Court on Plaintiffs’ Motion for Final Approval of Class

17 Action Settlement and Attorneys’ Fees and Costs. Prior to ruling, the Court considered the

18 following:

19         1.      Plaintiffs’ Motion for Final Approval of Class Action Settlement and Attorneys’

20 Fees and Costs;

21         2.      Declaration of Toby J. Marshall in Support of Plaintiffs’ Motion for Final

22 Approval of Class Action Settlement and Attorneys’ Fees and Costs;

23         3.      Declaration of Tamara Kenworthey in Support of Plaintiffs’ Motion for Final

24 Approval of Class Action Settlement and Attorneys’ Fees and Costs;

25         4.      Declaration of Markus Bulthuis Regarding Notice and Settlement Administration;

26         5.      Defendants’ Response;

27
     [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR
                                                                     TERRELL MARSHALL LAW GROUP PLLC
     FINAL APPROVAL OF CLASS ACTION SETTLEMENT AND                           936 North 34th Street, Suite 300
     ATTORNEYS’ FEES AND COSTS - 1                                           Seattle, Washington 98103-8869
                                                                          TEL. 206.816.6603  FAX 206.319.5450
     CASE NO. 2:21-cv-00884-MJP                                                  www.terrellmarshall.com
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 1         6.      Plaintiffs’ Reply;

 2         7.                                                                                        ; and

 3         8.                                                                                        .

 4         Based on the foregoing, IT IS HEREBY ORDERED THAT Plaintiffs’ Motion for Final

 5 Approval of Class Action Settlement and Attorneys’ Fees and Costs is GRANTED.

 6         IT IS SO ORDERED.

 7         DATED this ______________ day of __________________________, 2024.

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 9
                                                  THE HONORABLE MARSHA J. PECHMAN
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11 Presented by:

12 TERRELL MARSHALL LAW GROUP PLLC

13 By: /s/Toby J. Marshall, WSBA #32726

14     Toby J. Marshall, WSBA #32726
       Email: tmarshall@terrellmarshall.com
15     Ryan Tack-Hooper, WSBA #56423
       Email: rtack-hooper@terrellmarshall.com
16     Eric R. Nusser, WSBA #51513
       Email: eric@terrellmarshall.com
17
       Jasmin Rezaie-Tirabadi, WSBA #60285
18     Email: jrezaie@terrellmarshall.com
       936 North 34th Street, Suite 300
19     Seattle, Washington 98103
       Telephone: (206) 816-6603
20
       Tamara Kenworthey, Admitted Pro Hac Vice
21
       Email: tkenworthey@kenwortheylaw.com
22     KENWORTHEY LAW PLLC
       137 Fifth Avenue, 9th Floor
23     New York, New York 10010
       Telephone: (718) 344-5746
24
   Attorneys for Plaintiffs
25

26

27
     [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR
                                                               TERRELL MARSHALL LAW GROUP PLLC
     FINAL APPROVAL OF CLASS ACTION SETTLEMENT AND                    936 North 34th Street, Suite 300
     ATTORNEYS’ FEES AND COSTS - 2                                    Seattle, Washington 98103-8869
                                                                   TEL. 206.816.6603  FAX 206.319.5450
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